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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )    Case No. 4:21 CR 272 MTS
                                             )
DAVID BARKLAGE,                              )
                                             )
                     Defendant.              )


                                          ORDER
       IT IS HEREBY ORDERED that this matter is scheduled for a change of plea hearing

 in Courtroom 14 South on Tuesday, June 29, 2021 at 1:00 p.m.

      Dated this 22nd day of June, 2021




                                                 MATTHEW T. SCHELP
                                                 UNITED STATES DISTRICT JUDGE
